           CASE 0:17-cv-03058-SRN-HB Doc. 180 Filed 07/23/20 Page 1 of 12




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

  Brock Fredin,

                         Plaintiff,            Court File No. 17-cv-03058 (SRN/HB)

  v.
                                               MEMORANDUM OF LAW IN
  Lindsey Middlecamp,                          SUPPORT OF DEFENDANT
                                               MIDDLECAMP’S MOTION FOR
                         Defendant.            SUMMARY JUDGMENT




                                       Introduction

         Plaintiff Brock Fredin brought this action against Defendant Lindsey Middlecamp

(“Middlecamp”) for defamation per se (Count I), abuse of legal process (Count II), and

intentional infliction of emotional distress (Count III). The abuse of process claim (which

related to Middlecamp obtaining a harassment restraining order against Fredin) has been

dismissed, leaving only the defamation per se and intentional infliction of emotional

distress claims remaining. Now three years into this lawsuit, Fredin has still failed to

produce any evidence to substantiate his claims. Fredin cannot meet his burden of proof,

and there are no genuine issues of material fact with respect to any of his remaining claims.

Middlecamp therefore respectfully requests this Court exercise its gatekeeping function

and enter judgment pursuant to Fed. R. Civ. P. 56.




4821-7632-1219.5
           CASE 0:17-cv-03058-SRN-HB Doc. 180 Filed 07/23/20 Page 2 of 12




                                 FACTUAL BACKGROUND

         In his Amended Complaint, Fredin alleges that in early 2017, Middlecamp authored

tweets that related to stalking, harassment, and sexual violence by Fredin against women

who are not parties to this action. (See Amend. Compl. ¶¶ 2-3, 15, 19-20, 23; Doc. 5).

Fredin acknowledges in the Amended Complaint that in response to these tweets, he sought

to “expose” Middlecamp as the owner of the anonymous Twitter account, which focused

on gender issues. (Id. at ¶¶ 8, 24). Fredin further acknowledges that following his discovery

of Middlecamp’s identity, he engaged in a campaign against her. This included social

media posts and contacts with third parties that conveyed derogatory assertions about

Middlecamp. (See id. at ¶ 25).

         Although the Amended Complaint minimizes the severity of Fredin’s conduct with

regard to Middlecamp, Fredin affirmatively alleges that on April 14, 2017, Middlecamp

sought a harassment restraining order against Fredin in Ramsey County. (Id.) This Court

may consider the publicly available documents comprising the harassment restraining

order, and should take judicial notice of the final Order and the findings issued on October

2, 2017 (after two evidentiary hearings were held in July and September 2017).

(Declaration of K. Jon Breyer (“Breyer Decl.”) Ex. 1).

         The Harassment Restraining Order includes the following factual findings: Fredin

directed communications to Middlecamp’s law school and legal professional associations

sharing identifying information about Middlecamp and accusing her of criminal conduct,

and eventually directed communications to her employer of a similar nature. (Id. at ¶ 5(d)

and (f)). Fredin also registered the domain name “lindseymiddlecamp.com” and published

                                             2
4821-7632-1219.5
           CASE 0:17-cv-03058-SRN-HB Doc. 180 Filed 07/23/20 Page 3 of 12




content on that website identifying Middlecamp and her employer, accusing her of criminal

conduct, and soliciting others to make complaints against her. (Id. at ¶ 5(e)). Fredin

repeatedly sent emails and other electronic communications to third parties sharing

information about Middlecamp, her employer, and her anonymous Twitter account, and

accusing her of criminal conduct. (Id. at ¶ 5(f)). Even after Middlecamp obtained an ex

parte harassment restraining order on April 14, 2017, Fredin contacted an attorney he

believed to be averse to Middlecamp in active litigation where Middlecamp, an attorney

herself, was acting as counsel of record. (Id. at ¶ 5(g)). The Harassment Restraining Order

concluded that the repeated actions by Fredin were intended to or did have a substantial

adverse effect on Middlecamp’s safety, security, or privacy. (Id. at ¶ 6.) The Harassment

Restraining Order bars Fredin from any direct or indirect contact with Middlecamp, among

other protections.

         Prior to commencing this federal action in the United States District Court, and prior

to the final order in Middlecamp’s harassment restraining order proceeding, Fredin served

Middlecamp with a Ramsey County state court defamation action containing similar

allegations to those included in the current suit. (Court File No. 62-CV-17-3994). Ramsey

County denied Fredin’s request to waive the filing fee for that action based on improper

venue, directing him to re-file the action in Hennepin County. Instead, Fredin commenced

the instant action.

         On March 9, 2020, following a two-day evidentiary hearing, the Ramsey Court

District Court entered an order granting a 50-year restraining order against Fredin. (Breyer

Decl. Ex. 2.) The court had previously determined that Fredin had created 5 separate

                                               3
4821-7632-1219.5
           CASE 0:17-cv-03058-SRN-HB Doc. 180 Filed 07/23/20 Page 4 of 12




websites, each containing a link to Fredin’s federal lawsuit against Middlecamp, and each

included her home address. Id. ¶5. Further, on March 15, 2019 Fredin was found guilty

after trial by jury of a violation of the HRO. In retaliation, Fredin filed a number of

complaints seeking to have Middlecamp disciplined by the Office of Lawyers Professional

Responsibility. All were dismissed. Id. ¶¶8-12. Because of this and other troubling

behavior displayed by Fredin, the Court’s HRO prohibits Fredin from harassing

Middlecamp through anonymous or pseudonymous websites or other social media postings

or through filing legal actions against Middlecamp. Id. ¶17.

                                  PROCEDURAL POSTURE

         On September 26, 2018, the District Court for the District of Minnesota adopted the

Report and Recommendation and Order (“R&R”) of Magistrate Judge Franklin L. Noel

dated April 13, 2018. This order granted Defendant’s motion to dismiss Count II of the

Amended Complaint (abuse of process), but denied the motion to dismiss Count III of the

Amended Complaint (IIED). The R&R gave the required pleadings-stage deference in

favor of Fredin, noting in particular, that if Fredin’s claim that Middlecamp had invented

or fabricated a rape allegation by a third party were taken as true, those facts could support

a defamation and IIED claim.

                                   STANDARD OF REVIEW

         Summary judgment is appropriate when there is no genuine dispute of material fact

and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a);

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-51 (1986). The moving party bears the

initial burden of stating grounds for its motion and identifying those portions of the record

                                              4
4821-7632-1219.5
           CASE 0:17-cv-03058-SRN-HB Doc. 180 Filed 07/23/20 Page 5 of 12




which demonstrate the lack of any genuine issue of material fact. Celotex Corp. v. Catrett,

477 U.S. 317, 323 (1986). The facts and inferences to be drawn from them are viewed in a

light most favorable to the nonmoving party. Matsushita Elec. Indus. Co. v. Zenith Radio

Corp., 475 U.S. 574, 587 (1986). But at this stage of the proceeding, Fredin’s burden is an

evidentiary one. Dunavant v. Moore, 907 F.2d 77, 80 (8th Cir. 1990). He must identify

affirmative evidence in the record from which a jury could find that he has carried his

burden. See Jackson v. Gutzmer, 866 F.3d 969, 975, 978 (8th Cir. 2017).

         After the moving party identifies the grounds for the motion, and the relevant

portions of the record, the nonmoving party must establish that a triable fact issue exists

on every element for which he bears the burden of proof. Celotex, 477 U.S. at 323. Mere

allegations and conclusory statements are insufficient to withstand a summary judgment

motion. Dunavant, 907 F.2d at 80. Fredin cannot defeat a summary judgment motion

merely by presenting colorable evidence or evidence that is not significantly probative.

Anderson, 477 U.S. at 249–50. Moreover, he cannot meet his burden by asserting that a

jury might not believe a witness, or rely on out-of-context statements, speculation, and

conjecture. Id. at 256.

                                       ARGUMENT

I.       FREDIN CANNOT MAINTAIN A CLAIM FOR DEFAMATION

         Fredin’s first cause of action is for Defamation per se. (AC ¶¶30-36). A plaintiff

pursuing a defamation claim “must prove that the defendant made: (a) a false and

defamatory statement about the plaintiff; (b) in [an] unprivileged publication to a third

party; (c) that harmed the plaintiff’s reputation in the community.” Weinberger v.

                                             5
4821-7632-1219.5
           CASE 0:17-cv-03058-SRN-HB Doc. 180 Filed 07/23/20 Page 6 of 12




Maplewood Review, 668 N.W.2d 667, 673 (Minn. 2003). The third element of harm to a

reputation is presumed where a plaintiff establishes defamation per se. “Statements are

defamatory per se if they falsely accuse a person of a crime, of having a loathsome disease,

or of unchastity, or if they refer to improper or incompetent conduct involving a person’s

business, trade, or profession.” Longbehn v. Schoenrock, 727 N.W.2d 153, 158 (Minn. Ct.

App. 2007).

         Here, Fredin’s allegations are little more than threadbare recitations of the elements

of defamation, and for the most part, his pleadings fail to identify specific statements he

alleges to be false. For example, Fredin complains broadly that Defendant published over

40 posts on the Twitter account @cardsagsthrsmt. (AC ¶19). But Fredin has failed to

identify which posts form the basis for his claims, let alone provide any evidence to suggest

that posts about Fredin made by Middlecamp are false. Middlecamp is therefore left to

guess which specific statements are at the heart of Fredin’s case, and those appear to be:

(1) Middlecamp’s tweet from January 2017 stating that Fredin had at least two harassment

restraining orders against him and used aliases on dating sites, and (2) Middlecamp’s tweet

from February 2017 stating that another woman alleged that Fredin raped her in 2010. The

January 2017 tweet does not relate to criminal activity and, therefore, Fredin must

separately establish harm. The February 2017 tweet relates to criminal conduct by Fredin

and therefore he argues it does not require an element of harm to be proven.

         Despite this distinction in analysis, Fredin’s claim should be dismissed as to both

statements. Fredin has produced no evidence whatsoever that any of Middlecamp’s

statements are false. Moreover, as set forth below, the statements were privileged as a

                                               6
4821-7632-1219.5
           CASE 0:17-cv-03058-SRN-HB Doc. 180 Filed 07/23/20 Page 7 of 12




matter of public concern, and Fredin has no evidence supporting his burden to establish

malice or ill will. His defamation claim should be dismissed.

         A.        Fredin cannot maintain a claim for Defamation per se because the statements
                   involve a matter of public opinion.

         Defamation law balances the interests of the person who alleges to have been

defamed with the First Amendment rights of the speaker and, in cases such as the current

case, the interests of the public in matters of public concern. Construing Minnesota

defamation law, the Minnesota Supreme Court recently reiterated the burden-shifting that

applies where a defendant such as Middlecamp can show her statements were privileged.

Under such circumstances, the burden shifts to the plaintiff to demonstrate that the

defendant made the statement with malice. See Maethner v. Someplace Safe, Inc., 929

N.W.2d 868, 873 (Minn. 2019) (citing Bahr v. Boise Cascade Corp., 766 N.W.2d 910, 920

(Minn. 2009)).

         Maethner is particularly analogous and instructive to the issues in Fredin’s case

against Middlecamp. In Maethner, a man sued his ex-wife and her domestic violence

advocacy group after she suggested that plaintiff (her ex-husband) had committed acts of

domestic violence against her during their marriage. Id. at 872. In that case, the plaintiff

alleged that the statements made by his ex-wife were defamatory per se because they

accused plaintiff of a crime. Id. at 875. The court agreed with the plaintiff that the

statements could be construed as involving criminal behavior, but noted that the defamation

per se analysis does not end there. Id. “This is because, like all laws regulating speech, the




                                                 7
4821-7632-1219.5
           CASE 0:17-cv-03058-SRN-HB Doc. 180 Filed 07/23/20 Page 8 of 12




doctrine of defamation per se cannot offend the constitutional guarantees of the First

Amendment.” Id. (citing Jadwin, 367 N.W.2d at 481).

         “[C]ourts cannot offer recourse for injury to reputation at the cost of chilling speech

on matters of public concern, which occupies the highest rung of the hierarchy of First

Amendment values, and is entitled to special protection.” Id. (internal quotations omitted).

Citing both Minnesota law as well as guidance from the United States Supreme Court, the

Maethner court held that damages cannot be presumed where statements made involve a

matter of public concern and where a plaintiff cannot establish actual malice. Moreover,

the court held this protection extends to media and non-media speakers alike. “’Minnesota

affords to nonmedia defendants the same first amendment protection for criticism of public

officials that it grants to the mass media.’” Id. (quoting Britton v. Koep, 470 N.W.2d 518,

521 (Minn. 1991)). Thus, “[t]he rule should not be different when the plaintiff is a private

individual but the matter nonetheless raises an issue of public concern.” Maethner, 929

N.W.2d at 878.

         Therefore, regardless of whether Middlecamp’s gender-issues Twitter account

elevates her to the role of “the media” is not dispositive. Instead, “it is the private or public

concern of the statements at issue—not the identity of the speaker—that provides the First

Amendment touchstone for determining whether a private plaintiff may rely on presumed

damages in a defamation action.” Maethner, 929 N.W.2d at 878. In determining if

statements are of a public concern, the Court should consider what was said, where it was

said, and how it was said. Id. at 881.



                                                8
4821-7632-1219.5
           CASE 0:17-cv-03058-SRN-HB Doc. 180 Filed 07/23/20 Page 9 of 12




         Here, the first statements complained of was a tweet warning women of the Twin

Cities metro area that Fredin is a person with multiple restraining orders against him who

uses aliases on dating sites. Fredin has no evidence to establish that any aspect of that

statement was false. Fredin himself alleges that it was posted to a Twitter account that is

public and dedicated to reducing violence and harassment towards women, locally as well

as internationally. Similarly, the subsequent February 2017 re-posting of another woman’s

rape allegation is, on its face, a matter of public concern of interest to people of the Twin

Cities metro area, both regarding Fredin specifically, and the ongoing risk of predators on

dating sites generally. There should be little doubt that the statements involve a matter of

public concern. Fredin has produced no evidence supporting a showing of malice or ill will

by Middlecamp. Accordingly, Fredin must establish both the statements’ falsehood as well

as actual damages.

         B.        Fredin cannot show that any statements by Middlecamp were false or that
                   they caused actual damage

         Even if the Court is willing to consider a standard defamation claim (which was not

pleaded) rather than defamation per se, that claim must also fail because the great weight

of the evidence in the record dictates a finding that (1) the statements are true and (2) Fredin

did not suffer reputational harm or damage as a result of the statements at issue here. Fredin

has not produced any evidence, or even identified specific statements, which he can prove

to have been false. Where Fredin did cooperate with discovery in this action, his documents

and testimony reflect that Middlecamp’s statements about him are consistent with public

records and statements by third parties.


                                               9
4821-7632-1219.5
          CASE 0:17-cv-03058-SRN-HB Doc. 180 Filed 07/23/20 Page 10 of 12




         Nor can Fredin establish actual damage tied to any of Middlecamp’s tweets. Fredin

has produced no evidence that any of the events in his life since January 2017 have been

the result of Middlecamp’s tweets rather than his own actions. Moreover, Fredin’s own

allegations—in this case and in parallel litigation—demonstrates that he blames his

damages, if any, on other events and publications which were harmful to his reputation,

including, but not limited to, a January 23, 2017 Minnesota Court of Appeals decision

publicly available online describing his harassment of a woman other than Middlecamp; a

February 22, 2017 article by City Pages detailing Fredin’s harassment of two women other

than Middlecamp to a readership of thousands, and criminal charges and convictions by

Ramsey County for stalking and harassment. Fredin has made scattershot allegations

against a variety of defendants for three years, but is now required to demonstrate what

proof of damages would support his claim against Middlecamp. Because he cannot, his

defamation claim should be dismissed.

II.      FREDIN’S CLAIM FOR INTENTIONAL INFLICTION OF EMOTIONAL
         DISTRESS MUST FAIL

         Fredin’s claim for intentional infliction of emotional distress (“IIED”) is based on

his alleged emotion distress suffered as a result of the Middlecamp’s re-posting of another

woman’s rape allegation. (AC ¶42). Fredin claims he “suffered, and continues to suffer,

extreme emotional distress” as a result of Defendant’s actions. (Id. ¶43). Because his

defamation claim fails, Fredin cannot sustain a claim for emotional damages. “Emotional-

harm damages ‘are insufficient in themselves to make the slander actionable, but once the

cause of action is made out without them, they may be tacked on as ‘parasitic’ to it.’”


                                              10
4821-7632-1219.5
          CASE 0:17-cv-03058-SRN-HB Doc. 180 Filed 07/23/20 Page 11 of 12




Maethner, 929 N.W.2d at 874 (quoting W. Page Keeton et al., Prosser and Keeton on the

Law of Torts § 112, at 794–95 (5th ed. 1984)). Thus, this claim should be dismissed.

         Even if his claim was not dismissed together with his defamation claim, there is no

evidence in the record that comes close to establishing a claim for IIED. The tort requires:

(1) conduct that was extreme and outrageous; (2) and was intentional or reckless; (3)

caused the plaintiff to suffer emotional distress; (4) which was severe. See Langeslag v.

KYMN Inc., 664 N.W.2d 860, 864 (Minn. 2003) (citing Hubbard v. United Press Int’l, Inc.,

330 N.W.2d 428, 438-39 (Minn. 1983)). Minnesota law approaches IIED cautiously,

keeping it “‘sharply limited to cases involving particularly egregious facts,’” and requiring

a “‘high threshold standard of proof’” to submit the claim to the jury. Id. at 864 (quoting

Hubbard, 330 N.W.2d at 439). Minnesota courts have found that conduct is extreme and

outrageous when it is “so atrocious that it passes the boundaries of decency and is utterly

intolerable to the civilized community.” Hubbard, 330 N.W.2d at 439. IIED claims are

“sharply limited to cases involving particularly egregious facts.” Id. Liability does not

extend to “insults, indignities, threats, annoyances, petty oppressions, or other trivialities.”

See Restatement (Second) of Torts § 46 cmt. d (1965).

         Here, the allegations set forth by Fredin fail to support his claim for intentional

infliction of emotional distress, and Fredin has not provided enough evidence to support

the allegations. Middlecamp’s alleged “extreme and outrageous” conduct was sharing on

her Twitter account credible allegations of sexual violence and other misconduct by Fredin

originating from third parties. (AC ¶ 42.). Because the statement complained of was a

matter of public importance designed to protect the safety of women, it does not rise to the

                                              11
4821-7632-1219.5
          CASE 0:17-cv-03058-SRN-HB Doc. 180 Filed 07/23/20 Page 12 of 12




level of “extreme and outrageous” conduct that this tort requires. Moreover, Fredin has

produced no evidence that the underlying statements were false, or that Middlecamp was

reckless when she shared it on her Twitter account.

                                       CONCLUSION

         For the foregoing reasons, the Defendant respectfully request that the Court enter

summary judgment in her favor and dismiss Plaintiff’s claims against her with prejudice.




 Date: July 23, 2020                      KUTAK ROCK LLP

                                          By: /s/ K. Jon Breyer
                                          K. Jon Breyer (MN #302259)
                                          60 South Sixth Street
                                          Suite 3400
                                          Minneapolis, Minnesota 55402
                                          Telephone: (612) 334-5057
                                          Jon.breyer@kutakrock.com

                                          Attorneys for Defendant Lindsey Middlecamp




                                             12
4821-7632-1219.5
